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11                          UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,               No. 2:21-cr-00127-MCS

14             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
15                   v.                      PURSUANT TO SPEEDY TRIAL ACT

16   DOUGLAS CHRISMAS,                       [PROPOSED] TRIAL DATE: 9/27/22

17             Defendant.

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19        The Court has read and considered the Stipulation Regarding
20   Request for (1) Continuance of Trial Date and (2) Findings of
21   Excludable Time Pursuant to the Speedy Trial Act, filed by the
22   parties in this matter on March 14, 2022.        The Court hereby finds
23   that the Stipulation, which this Court incorporates by reference into
24   this Order, demonstrates facts that support a continuance of the
25   trial date in this matter, and provides good cause for a finding of
26   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
27        The Court further finds that: (i) the ends of justice served by
28   the continuance outweigh the best interest of the public and
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1    defendant in a speedy trial; (ii) failure to grant the continuance

2    would be likely to make a continuation of the proceeding impossible,

3    or result in a miscarriage of justice; and (iii) failure to grant the

4    continuance would unreasonably deny defendant continuity of counsel

5    and would deny defense counsel the reasonable time necessary for

6    effective preparation, taking into account the exercise of due

7    diligence.

8         THEREFORE, FOR GOOD CAUSE SHOWN:

9         1.    The trial in this matter is continued from May 3, 2022 to
10   September 27, 2022, at 8:30 a.m. The status conference hearing is
11   continued to September 12, 2022, at 3:00 p.m.
12        2.    The time period of May 3, 2022 to September 27, 2022,
13   inclusive, is excluded in computing the time within which the trial
14   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),
15   and (h)(7)(B)(iv).
16        3.    Defendant shall appear in Courtroom 7C of the Federal
17   Courthouse, 350 West 1st Street, Los Angeles, California on September
18   27, 2022 at 8:30 a.m.

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1         4.     Nothing in this Order shall preclude a finding that other

2    provisions of the Speedy Trial Act dictate that additional time

3    periods are excluded from the period within which trial must

4    commence.   Moreover, the same provisions and/or other provisions of

5    the Speedy Trial Act may in the future authorize the exclusion of

6    additional time periods from the period within which trial must

7    commence.

8         IT IS SO ORDERED.

9
10    March 14, 2022
      DATE                                    HONORABLE MARK C. SCARSI
11                                            UNITED STATES DISTRICT JUDGE
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14   Presented by:
15       /s/
     VALERIE L. MAKAREWICZ
16   Assistant United States Attorney
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